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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                                Judge William J. Martínez

  Date:             April 21, 2021
  Courtroom Deputy: Anna Frank
  Court Reporter:   Mary George


   Civil Action No. 20-cv-3819-WJM-STV                    Counsel:

   ROCKY MOUNTAIN ASSOCIATION OF                          Joshua Kirkpatrick
   RECRUITERS,                                            Grace McGuire
                                                          Jennifer Harpole

         Plaintiff,

   v.

   SCOTT MOSS, in his official capacity as Director of    Evan Brennan
   the Division of Labor Standards and Statistics of
   the Colorado Department of Labor and
   Employment,

         Defendant.


                                  COURTROOM MINUTES


  PRELIMINARY INJUNCTION HEARING

  10:05 a.m.    Court in session.

  Appearances of counsel. Director Scott Moss is also seated at counsel table.

  Opening remarks by the Court regarding Plaintiff’s Motion for Preliminary Injunction
  [ECF 7].

  10:18 a.m.    Argument given on behalf of Plaintiff by Mr. Kirkpatrick.

  11:11 a.m.    Argument given on behalf of Defendant by Mr. Brennan.

  11:52 a.m.    Reply argument given on behalf of Plaintiff by Mr. Kirkpatrick.
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  ORDERED: Plaintiff’s Motion for Preliminary Injunction [ECF 7] is taken under
           advisement.

  11:59 a.m.    Court in recess.

  Total time in court: 1:54

  Hearing concluded.
